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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



 MICHELLE VANEVERY, Derivatively on               Case No. 1:18-cv-10199-GAO
 Behalf of OCULAR THERAPEUTIX, INC.,

                         Plaintiff,               Honorable George A. O'Toole, Jr.
         v.                                       Courtroom 9, 3rd Floor

 AMARPREET SAWHNEY, CHARLES
 WARDEN, RICHARD L. LINDSTROM,
 JASWINDER CHADHA, BRUCE A.
 PEACOCK, JEFFREY S. HEIER, W.
 JAMES O'SHEA, ERIC ANKERUD,
 JAMES GARVEY, GEORGE MIGAUSKY,
 and W. BRADFORD SMITH,

                         Defendants,
         -and-

 OCULAR THERAPEUTIX, INC., a
 Delaware corporation,

                 Nominal Defendant.


          JOINT STIPULATION AND [PROPOSED] ORDER VOLUNTARILY
                  DISMISSING ACTION WITHOUT PREJUDICE

       Pursuant to Rules 23.1(c) and 41(a) of the Federal Rules of Civil Procedure, plaintiff

Michelle VanEvery ("Plaintiff"), defendants Amarpreet Sawhney, Charles Warden, Richard L.

Lindstrom, Jaswinder Chadha, Bruce A. Peacock, Jeffrey S. Heier, W. James O'Shea, Eric

Ankerud, James Garvey, George Migausky, and W. Bradford Smith (the "Individual Defendants"),

and nominal defendant Ocular Therapeutix, Inc. ("Ocular" or the "Company") (together with the

Individual Defendants, "Defendants"), by and through their respective counsel, respectfully

request the Court enter an Order granting Plaintiff's request to voluntarily dismiss the above-

captioned action without prejudice. In support thereof, the parties state as follows:


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       WHEREAS, pursuant to a Stipulation dated August 20, 2018, the parties agreed to stay all

proceedings in this Action pending a decision on a motion to dismiss a factually related

consolidated securities class action that was pending in this Court, captioned In re Ocular

Therapeutix, Inc. Securities Litig., No. 1:17-cv-12288-GAO (D. Mass.) (the “Securities Class

Action”);

       WHEREAS, the Court entered an Order staying this Action on September 4, 2018;

       WHEREAS, pursuant to an Opinion and Order dated April 30, 2019, the Court dismissed

the Securities Class Action;

       WHEREAS, on April 9, 2020, the First Circuit affirmed the dismissal of the Securities

Class Action;

       WHEREAS, the parties have met and conferred and have agreed that this Action should be

dismissed without prejudice, with each party to bear his, her, or its own fees and costs incurred in

connection with this litigation; and

       WHEREAS, the parties submit that notice to Ocular stockholders of this dismissal is

unnecessary because the stipulated dismissal is without prejudice; no compensation in any form

has passed directly or indirectly from any of the Defendants to Plaintiff or Plaintiff's counsel; no

promise to give any such compensation has been made; and the dismissal is without prejudice to

the ability of Ocular or other Ocular shareholders (including the plaintiffs in pending derivative

actions in the United States District Court for District of Delaware and the Superior Court for the

Commonwealth of Massachusetts) to pursue claims.

       NOW THEREFORE, the parties STIPULATE and AGREE and request that the Court enter

an Order approving the voluntarily dismissal of this Action pursuant to Rules 23.1(c) and 41(a) of

the Federal Rules of Civil Procedure, as follows:



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       1.       The above-captioned action is dismissed without prejudice, with the parties to bear

their own costs and fees.

IT IS SO STIPULATED.

DATED: October 16, 2020                          ROBBINS LLP


                                                             /s/ Steven R. Wedeking
                                                            STEVEN R. WEDEKING

                                                 BRIAN J. ROBBINS
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                                                 Attorneys for Plaintiff

DATED: October 16, 2020                          WILMER CUTLER PICKERING
                                                  HALE and DORR LLP


                                                                 /s/ Peter J. Kolovos
                                                 MICHAEL G. BONGIORNO (BBO #558748)
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                                      Attorneys for Defendants


                                     ****

                                   ORDER

    PURSUANT TO STIPULATION, IT IS SO ORDERED.

DATED:
                                      HONORABLE GEORGE A. O'TOOLE, JR.
                                      U.S. DISTRICT COURT JUDGE




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                                  CERTIFICATE OF SERVICE

          I certify that on October 16, 2020, I served a true and correct copy of the foregoing Joint

Stipulation and [Proposed] Order Voluntarily Dismissing Action Without Prejudice in the above-

captioned matter using the CM/ECF system, which will send notification of such filing to counsel

of record for all parties.


                                                                /s/ Steven R. Wedeking
                                                               STEVEN R. WEDEKING



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